Re_ Holy Week assignment@epge ArePBvev-11926-PBS Document 111-9 Filed 03/30/20 Page 1 of 43 3/21/20, 3:32 PM

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Sent on: Wednesday, April 9, 2014 8:17:56 PM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: Re: Holy Week assignments

Follow up:

Fr. Emmanuel,
| pray you and your family are well.

His Eminence would like you to serve and assist the following priests for two Holy Week services
according to the following schedule:

e Palm Sunday morning: St. Sophia Church in New London, CT. Fr. Dean Panagos, 860-442-2377
e Holy Saturday Evening: St. George Cathedral, Springfield, MA. Fr. Chris Stamas, 413/737-1496

Piease contact both Fr. Dean and Fr. Chris immediately to discuss the details of these two services.

if you have any questions, please let me know.
We pray that you have a blessed and rewarding journey to Paschal!

With brotherly love,
tib

From: "+ Emmanuel Lemelson" <elemelson@outlook.com>
To: "Father Theodore J. Barbas" <fatherted @ boston.goarch.org>
Sent: Thursday, April 3, 2014 6:01:22 PM

Dear Father,

Your blessing.

...had a chance to meet with his Eminence last week and he suggested that we connect. Tried calling and left a
message today for you... is there a good time to call again?

In the meantime, Kali Sarakosti...

+ Rev. Fr. Emmanuel Lemelson

508-485-0607

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Re_ Holy Week assignment®@@ganse: 1.qhyvd 1926-PBS Document 111-9 Filed 03/30/20 Page 2 of 43 3/21/20, 3:36 PM

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cesent

From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Saturday, April 19, 2014 4:38:33 PM

To: + Emmanuel Lemelson <elemelson@outlook.com>
Subject: Re: Holy Week assignments

Follow up:

thank you
sorry for the last minute request.
i've been in the hospital with my daughter and sent it from here.

are you going to springfield tonight.

kali anastasi!
tib

From: "+ Emmanuel Lemelson" <elemelson@ outlook.com>
To: "Fr. Ted Barbas" <fatherted @boston.goarch.org>

Sent: Saturday, April 19, 2014 11:41:19 AM

Subject: RE: Holy Week assignments

...went to Roslindale this morning to help Fr. Basil.

+ Rev. Fr. Emmanuel

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immediately without making any copy.

From: Fr. Ted Barbas |mailto:fatherted@boston.goarch.org |

Sent: Saturday, April 19,2014 1:07 AM

To: + Emmanuel Lemelson

Subject: RE: Holy Week assignments

Fr. Greg .

Can you go back to Roslindale in the morning (Saturday) to help Fr. Vasili with communion?
Thanks

Tjb

Sent from my Verizon Wireless 4G LTE smartphone
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Case 1:18-cv-11926-PBS Document 111-9 Filed 03/30/20 Page 3 of 43

Douglas Brooks

See SRR a
From: Fr. Ted Barbas <fatherted@boston.goarch.org>
Sent: Saturday, April 26, 2014 2:47 PM
To: Fr. Ted Barbas; + Emmanuel Lemelson
Subject: RE:
... the priest...

Sent from my Verizon Wireless 4G LTE smartphone

aeeenoen Original message --------

From: "Fr. Ted Barbas"
Date:04/26/2014 2:41 PM (GMT-05:00)
To: + Emmanuel Lemelson

Subject: RE:

Thank you.
the police will be away tomorrow. You will be by yourself.

ORTHROS begins at 9 am.
Thank you

Sent from my Verizon Wireless 4G LTE smartphone

weneeons Original message --------

From: + Emmanuel Lemelson
Date:04/26/2014 2:21 PM (GMT-05:00)
To: "Father Theodore J. Barbas™
Subject:

Dear Father,

Christ Is Risen!

Just received your voice message... didn’t get any text?

..no problem to serve at Andover tomorrow. Is there another Priest there, or solo? Do they do Orthodox? What time do
they start... ?

Warm Regards,
+ Rev. Fr. Emmanuel

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From: Fr. Ted Barbas <fatherted@boston.goarch.org>
Senton: Friday, July 4, 2014 5:21:15 AM

To: Gregory Lemelson <elemelson@outlook.com>
Subject: This Sunday

Follow up:

Fr. Emmanuel

I pray you are well.

Are you available to serve this Sunday in Chicoppee?
Please confirm.

Thank you

Father Ted

Chancellor

Greek Orthodox Metropolis of Boston
162 Goddard Avenue

Brookline, Massachusetts 02445
617.277 4742

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>

Senton: Wednesday, July 9, 2014 5:03:28 PM
To: Gregory Lemelson <elemelson@outlook.com>

Subject: This Sunday, July 13

Follow up:

Fr. Emmanuel,

Are you available to serve at the St. Nicholas Parish in Lexington, MA this coming Sunday, July 13?

Please confirm.
thank you
tib

Greek Orthodox Metropolis of Boston
moon pep bin 162 Goddard Avenue
Chancellor

Brookline, MA 02445-7414

Reverend Theodore 3. Barbas

tel: 617.277.4742
fax: 617.739.9229
mobile: 617.799.6110

fatherted@boston.goarch.org

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Tuesday, July 15, 2014 3:08:40 AM

To: + Emmanuel Lemelson <elemelson@outlook.com>
Subject: This Sunday, July 20

Follow up:

Dear Fr. Emmanuel,
Hope all is well.
How did things go in Woburn on Sunday?

Are you available to serve in NEWBURYPORT this coming Sunday, July 20?
Please confirm.

thanks
tjb

Greek Orthodox Metropalis of Boston
Chancellor 162 Goddard Avenue
Brookline, MA 02445-7414

Reverend Theodare J. Barbas

tel: 617.277.4742
fax: G17.739.9229
mobile: 617.799.6116

fatherted@boston.goarch.org

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Fwd_ This Sunday. July 27#@S@neph@rCV-11926-PBS Document 111-9 Filed 03/30/20 Page 8 0f43 — 3j91/20, 3:30 pm

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Thursday, July 24, 2014 9:13:27 PM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: © Fwd: This Sunday, July 27

Follow up:

Fr. Emmanuel,
| pray you are well.

Are you available to serve in Newburyport again this Sunday, July 27?
Please confirm.

thanks

4jb

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Sent on: Saturday, August 23, 2014 2:48:10 AM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: Re: This Sunday, 8/24

Follow up:

thank you

1 will confirm the times by tomorrow.
thanks

tib

From: "+ Emmanuel Lemelson" <elemelson@outlook.com>

To: "Father Theodore J. Barbas" <fatherted@boston.goarch.org>
Sent: Friday, August 22, 2014 5:52:53 PM

Subject: RE: This Sunday, 8/24

No problem father... what time do they usually begin?

Warm Regards,

+ Rev. Fr. Emmanuel

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From: Father Theodore J. Barbas [mailto:fatherted@ boston .goarch.org |
Sent: Thursday, August 21,2014 11:08 PM

To: + Emmanuel Lemelson

Subject: This Sunday, 8/24

Fr. Emmanuel,

| pray you are well.

Are you available to serve in Norwich, CT this coming Sunday, 8/24?
Please confirm.

thank you

tib

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Friday, September 19, 2014 6:44:12 PM
To: Gregory Lemelson <elemelson@outlook.com>

Subject: This Sunday, 9/21

Follow up:

Dear Fr. Emmanuel
| pray you are well.

Are you available to serve this coming Sunday, 9/21, at the St. Nicholas parish in Portsmouth, NH.?
Please confirm ASAP.

thank you
tjb

Greek Orthodex Metropolis of Beston
Chancetior 162 Goddard Avenue
Brookline, MA 02445-7414

Reverend Theodore J, Barbas

tel: 617.277 4742
fax: 617.739.9229
mobile: 617.799.6110

fatherted@boston.goarch.ora

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This Sunday. October 5.ngeGeGhebrpB-CV-11926-PBS Document 111-9 Filed 03/30/20 Page 12 0f43 gi 496 3:52 pm

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Friday, October 3, 2014 10:37:44 AM
To: Gregory Lemelson <elemelson@outlook.com>

Subject: This Sunday, October 5

Follow up:

Dear Fr. Emmanuel,
| pray you and your family are well.

Are you available to serve this coming Sunday, October 5 in Newport, NH?
It is a far drive, but you and your family are welcome to sleep at our Retreat House at the camp on Saturday night if

you wish.

Please confirm.
thank you
tib

Greek Orthodox Metropolis of Boston
Chancellor 162 Goddard Avenue
Brookline, MA 02445-7414

Reverend Theodore 3. Barbas

tel: 617.277.4742
fax: 617.739.9229

fatherted@boston.goarch.org mobile: 617.789.6110

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Case 1:18-cv-11926-PBS Document 111-9 Filed 03/30/20 Page 13 of 43

Douglas Brooks

From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Sent: Friday, October 3, 2014 11:39 PM

To: + Emmanuel Lemelson

Subject: Re: This Sunday, October 5

Thank you brother.

Actually, | have a priest who can go to Newport, NH, as he doesn't have young children, and it is easier for him to
travel.

If you want to go there, no problem, just let me know.

Otherwise, you could go to Clinton as it is much closer for you and your family.
Please confirm asap.

thanks
tib

From: "+ Emmanuel Lemelson" <elemelson@outlook.com>

To: "Father Theodore J. Barbas" <fatherted@boston.goarch.org>
Sent: Friday, October 3, 2014 10:52:04 AM

Subject: RE: This Sunday, October 5

Dear Father,

Your blessing.

..also praying that you and presbytera and the little ones (esp. Maria) are well...

No problem for Newport — do they typically begin with Orthros, and if so, what time?

Thank you for your kind and generous offer to use the retreat house (is it near the church?) — if this is necessary, is there
someone at the camp with a key?

Warm Regards,

+ Rev. Fr. Emmanuel

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From: Father Theodore J. Barbas [mailto:fatherted@boston.goarch.org]
Sent: Friday, October 3, 2014 6:38 AM

To: Gregory Lemelson

Subject: This Sunday, October 5

Dear Fr. Emmanuel,
| pray you and your family are well.

Are you available to serve this coming Sunday, October 5 in Newport, NH?
It is a far drive, but you and your family are welcome to sleep at our Retreat House at the camp on Saturday night if you
wish.

Please confirm.
thank you
tib
Case 1:18-cv-11926-PBS Document 111-9 Filed 03/30/20 Page 14 of 43

Greek Orthodox Metropolis of Boston

Reverend Theodore J. Barbas

Chancellor 162 Goddard Avenue
Brookline, MA 02445-7414

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617.799.6110

fatherted@boston.goarch.org

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Friday, January 16, 2015 2:55:24 PM

To: Emmanuel Lemelson <elemelson@outlook.com>
Subject: Re: This Sunday, January 18

Follow up:

thanks
tjb

From: "Emmanuel Lemelson" <elemelson@outlook.com>

To: "Father Theodore J. Barbas" <fatherted @ boston.goarch.org>
Sent: Friday, January 16, 2015 9:45:03 AM

Subject: Re: This Sunday, January 18

Father your blessing.

...checking now with the godchildren's parents to make sure they can make it and will get
back to you shortly...

Thanks for your understanding during this complicated situation...
Sent from my iPhone

On Jan 16, 2015, at 9:33 AM, Father Theodore J. Barbas <fatherted@boston.goarch.org>
wrote:

Dear Fr. Emmanuel

| took care of sending another priest to Newport, RI this weekend, but I still have several
openings.

Can you serve this Sunday, January 18, at the St. George Cathedral in Manchester, NH?
It is much closer. Can your friends and family drive to Manchester for Holy Communion?
i'm sorry, but we have many openings this Sunday. We are really in need of assistance.

Please confirm.
thank you

love

{jb

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Re_ This Sunday_ January TSS Ay 3/21/20, 3:42 PM

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Saturday, January 17,2015 5:07:15 AM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: Re: This Sunday, January 18

Follow up:

thank you brother

January 18, St. George Cathedral, Manchester, NH
January 25, St. Spyridon, Newport, RI

thanks
tib

From: "+ Emmanuel Lemelson" <elemelson @outlook.com>

To: "Father Theodore J. Barbas" <fatherted @ boston.goarch.org>
Sent: Friday, January 16, 2015 10:26:23 AM

Subject: RE: This Sunday, January 18

Dear Father,

... just spoke with the God childrens parents and it is no problem to go to Manchester (they are even
able now to make it to Newport after making some arrangements)

Also, we can go to Newport RI next Sunday...

So either way, whatever is easiest for you.

Warm Regards,

+ Rev. Fr. Emmanuel

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notify the sender and purge this message immediately without making any copy.

From: Father Theodore J. Barbas [mailto:fatherted @ boston.goarch.org]
Sent: Friday, January 16, 2015 9:55 AM

To: Emmanuel Lemelson

Subject: Re: This Sunday, January 18

thanks

tjb

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Next four weeks.msg - OneDrive 3/21/20, 3:32 PM

i Share > Copylink  < Download > Copyto [kb Version history < Previous 53 0f61 Ne
From: Fr. Ted Barbas <fatherted@boston.goarch.org>

Senton: Monday, January 19, 2015 12:21:06 PM

To: Gregory Lemelson <elemelson@outlook.com>

Subject: Next four weeks

Follow up:

Dear Fr. Emmanuel.
How did things go yesterday in Manchester?

His Eminence and I would like you to go to Danielson, CT for the next 4 Sundays to cover for Fr. Nick Milas
who will be away. Please confirm your availability as soon as possible then I will put you into contact with
him directly to discuss details.

Thank you

Father Ted

Chancellor

Metropolis of Boston
617.277.4742

FatherTed @Boston.goarch.org

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This coming Sunday. MaShA$B ded BofMribd926-PBS Document 111-9 Filed 03/30/20 Page 190f43 — 3y1/96, 3:48 pm

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Thursday, February 26, 2015 1:12:19 PM

To: + Emmanuel Lemelson <elemelson@outlook.com>
Subject: This coming Sunday, March 1

Follow up:

Fr. Greg,

| pray you are well.

| hope you had a nice trip.
Kali Tessarakosti!

Are you available to celebrate the Liturgy this coming Sunday, March 1, in Southbridge?
Please confirm.

thank you
Have a blessed Lenten journey!
tib

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Re_ This coming sunday. WA9G4. hed Sahar 926-PBS Document 111-9 Filed 03/30/20 Page 20 of 43 3/21/20, 3:40 PM

i Share > Copylink \ Download {> Copyto &h Version history < Previous 78o0f91 Ni

From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Friday, February 27, 2015 12:34:26 PM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: Ke: This coming Sunday, March 1

Follow up:

Fr. Emmanuel

In addition to the request below for Sunday, can you also go TONIGHT to St. George Manchester for the Salutation
service at 7 pm?

Please confirm.

thank you

tib

From: "Father Theodore J. Barbas" <fatherted@boston.goarch.org>
To: "+ Emmanuel Lemelson" <elemelson@outlook.com>

Sent: Thursday, February 26, 2015 11:30:45 PM

Subject: This coming Sunday, March 1

Fr. Emmanuel,
| pray you are well.
Kali Tessarakosti! A blessed Lent fo you!

Are you available to celebrate the Liturgy this coming Sunday, March 1, at St. George Cathedral in
Manchester, NH?
Please confirm.

thank you
Have a blessed Lenten journey!
tjb

Greek Orthodox Metrapalis of Boston
162 Goddard Avenue
Brookline, MA 02445-7414

Reverend Theodore J. Barbas

Chancellor

tel: 617.277.4742
Fax: 617.739.9229
mohilas ALT? 799 A116

fatheartad@Mboactan anarch ara

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msg -O0 3/27/20, 3:41 PM

Re_ This coming sunday. ASG mad SaG¥s4d926-PBS Document 111-9 Filed 03/30/20 Page 21 of 43

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From: Father Theodore J. Barbas <fatherted@pboston.goarch.org>
Senton: Friday, March 6, 2015 12:45:02 AM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: Re: This coming Sunday, March 8

Follow up:

thank you brother

9.15 Orthros
10.15 Liturgy

From: "+ Emmanuel Lemelson" <elemelson @outlook.com>
To: "Father Theodore J. Barbas" <fatherted@boston.goarch.org>
Sent: Thursday, March 5, 2015 6:19:22 PM
Subject: RE: This coming Sunday, March 8

Yes Father no problem.... Hope you have been well...

P.S. do you know when they start?

Warm Regards,

+ Rev. Fr. Emmanuel

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addressee(s), and may contain confidential or legally privileged information. If you are not the
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notify the sender and purge this message immediately without making any copy.

From: Father Theodore J. Barbas [mailto:fatherted @ boston.goarch.org]
Sent: Thursday, March 5, 2015 5:29 PM

To: + Emmanuel Lemelson

Subject: This coming Sunday, March 8

Fr. Emmanuel,

| pray you are well.

Kali Tessarakosti! A blessed Lent to you!

Are you available to celebrate the Liturgy this coming Sunday, March &, Southbridge?
Please confirm.

thank you
Have a blessed Lenten tournev!

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This coming Sunday. Marhn@SRsd-bRebMel1926-PBS Document 111-9 Filed 03/30/20 Page 22 0f 43 — gy1756 3:48 pm

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From: Father Theodore J. Barbas <fatherted@pboston.goarch.org>
Senton: Thursday, March 12, 2015 1:49:22 AM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: This coming Sunday, March 15

Follow up:

Fr. Emmanuel,
| pray you are well.

Are you available to celebrate the Liturgy this coming Sunday, March 15, at St. George Cathedral in

Manchester, NH?
Please confirm.

thank you
Have a blessed Lenten journey!

tib

Greek Orthodox Metropolis of Boston
Chancellor 162 Goddard Avenue
Brookline, MA 02445-7414

Reverend Theodore J, Barbas

tel: 617.277.4742
fax: 617.739.9229
mobile: 617.799.6110

fatherted@boston.goarch.org

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Re_ This coming Sunday WASEislndB-GVakdIZ26-PBS Document 111-9 Filed 03/30/20 Page 23 of 43 3/21/20, 3:40 PM

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Sunday, March 15, 2015 3:18:48 AM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: Re: This coming Sunday, March 15

Follow up:

Fr. Emmanuel!

| spoke with Frank.

He will apologize and explain to you tomorrow his comments.

YES, please celebrate the Liturgy at St. George Cathedral in Manchester, NH tomorrow.
Please confirm back.

thanks

tib

From: "+ Emmanuel Lemelson" <elemelson @outlook.com>

To: "Father Theodore J. Barbas" <fatherted@boston.goarch.org>
Sent: Thursday, March 12, 2015 1:31:45 PM

Subject: RE: This coming Sunday, March 15

Father,

Your blessing.

Just called and left a message for you at the office... can we connect by phone?

508-485-0607

Warm Regards,

+ Rev. Fr. Emmanuel

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intended recipient, you have received this message in error and any use, dissemination, forwarding,
printing or copying is strictly prohibited. If you have received this communication in error, please
notify the sender and purge this message immediately without making any copy.

From: Father Theodore J. Barbas [mailto:fatherted @ boston.goarch.org]

Sent: Wednesday, March 11, 2015 9:49 PM

To: + Emmanuel Lemelson

Subject: This coming Sunday, March 15

Fr. Emmanuel,

| pray you are well.

Are you available to celebrate the Liturgy this coming Sunday, March 15, at St. George Cathedral in

https://lemelsoncapital-my.sharepoint.com/personal/el_lemelsonca...5Fcom%2FDocuments%2FTimeline%2FMetropolis%200f%20Boston%20Emails Page 10f 1
Re_ Holy Week (5).msq - Sr@SGel:18-Cv-11926-PBS Document 111-9 Filed 03/30/20 Page 24 0f43 — gj1j06 3:35 pm

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Friday, April 3, 2015 8:18:48 PM

To: John and Linda Sibik <jlab25@comcast.net>

CC: Athans Fr. Arthur <Ketaath@concentric.net>; + Emmanuel

Lemelson <elemelson@outlook.com>
Subject: Re: Holy Week

Follow up:

Dear John,

| pray you are well

To confirm our earlier conversation, Fr. Emmanuel Lemelson will serve at your parish in Somersworth, NH for the
services listed below.

Fr. Arthur Athans will be available as much as he can to assist.
If you have any questions, please let me know.

Have a blessed Holy Week and Pascha!

God bless

tjb

Fr. Emmanuel’s contact is:

elemelson@outlook.com

508.596.9338 cell
508.485.0607 home

From: "John and Linda Sibik" <jlab25@comcast.net>

To: "Father Theodore J. Barbas" <fatherted@boston.goarch.org>
Sent: Monday, March 23, 2015 7:44:21 AM

Subject: RE: Holy Week

Thank you Fr. Ted,
Here is our Holy Week schedule:

2015 HOLY WEEK SERVICE SCHEDULE
April 5 Palm Sunday 10:00 AM

April 8 Holy Wednesday 7:00 PM

April 9 Holy Thursday 7:00PM

April 10 Holy Friday 7:00 PM

April 11 Holy Saturday 8:00 AM

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This Sunday. April 26.ms¢¢ @arbet8-CV-11926-PBS Document 111-9 Filed 03/30/20 Page 25 0f43 — gy4/96, 3:49 em

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Thursday, April 23, 2015 9:03:14 PM

To: + Emmanuel Lemelson <elemelson@outlook.com>
Subject: This Sunday, April 26

Follow up:

Fr. Emmanuel,
Xristos Anesti!

Are you available to serve this Sunday, April 26 either in Somersworth OR Concord, NH?
lf so, please let me know which parish you prefer.

Please confirm.
thank you
tib

Greek Orthodox Metropolis of Bosten
Chancellor 162 Goddard Avenue
/ Brookline, MA 02445-7414

Reverend Theodore J, Barbas

tel: 617.277.4742
fax: 617.739.9229
mobile: 617,799.6110

fatherted@boston.goarch.org

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This Sunday_ May 3.msg COASbrivs: L8-Cv-11926-PBS Document 111-9 Filed 03/30/20 Page 26 0f43 4.1155 3.59 om

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Friday, May 1, 2015 1:49:16 PM

To: + Emmanuel Lemelson <elemelson@outlook.com>
Subject: This Sunday, May 3

Follow up:

Fr. Emmanuel,
Xristos Anesti!
| pray you are well.

Are you available to serve the Liturgy (9.45 am) at the Ipswich, MA parish this coming Sunday, May 3?
Please confirm.

thank you
tjb

Greek Orthodox Metropolis of Boston
Chancellor 162 Goddard Avenue
— Brookline, MA 02445-7414

Reyerend Theodore J, Barbas

tel: 617.277.4742
fax: 617.739.9229

fatherted@boston.goarch.org mobile: 617.799.6110

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Re_ This Sunday. May a.ntASRebrbB-CV-11926-PBS Document 111-9 Filed 03/30/20 Page 27 0f 43 — ay109 3:47 om

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Saturday, May 2, 2015 3:44:40 AM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: Re: This Sunday, May 3

Follow up:

thank you brother.
| need to change the location of your service on Sunday....sorry but we have had several changes today.

Please plan on serving at the Keene, NH parish. Orthros at 9 am. Liturgy at 10 am.
Please confirm.

thank you

tjb

From: "+ Emmanuel Lemelson" <elemelson@outlook.com>

To: "Father Theodore J. Barbas" <fatherted @ boston.goarch.org>
Sent: Friday, May 1, 2015 9:50:43 AM

Subject: RE: This Sunday, May 3

Truly He is Risen!

Yes, Father, no problem... will be there. Is there Orthros as well?

Warm Regards,

+ Rev. Fr. Emmanuel

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notify the sender and purge this message immediately without making any copy.

From: Father Theodore J. Barbas [mailto:fatherted @boston.goarch.org]
Sent: Friday, May 1, 2015 9:49 AM

To: + Emmanuel Lemelson

Subject: This Sunday, May 3

Fr. Emmanuel,

Xristos Anesti!

| pray you are well.

Are you available to serve the Liturgy (9.45 am) at the Ipswich, MA parish this coming Sunday, May 3?

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tomorrow_ May 17.msg -

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Saturday, May 16, 2015 11:50:55 AM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: tomorrow, May 17

Follow up:

Hi Brother,
Xristos Anesti!
| hope you are well.

Are you available to serve in Keene, NH again tomorrow?
Please confirm.

thanks

fyb

Greek Orthodox Metropolis of Boston
Chanceltor 162 Goddard Avenue
Brookline, MA 02445-7414

Reverend Theodore J, Barbas

tel: 617.277 4742
fax: 617.739.9229
moblie: 617.799.6110

fatherted@boston.goarch.org

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>

Senton: Wednesday, May 27, 2015 6:41:07 PM

To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: This Sunday, May 31

Follow up:

Fr. Emmanuel,
| hope you are well,

3/21/20, 3:52 PM

113 of 117

This is to confirm that you will serve this coming Sunday, May 31 in Keene, NH and also serve at the

Baptism there.

Please confirm.
thank you
tib

Reverand Theodore J. Barbas
Chancellor

fatherted@boston.goarch.org

Greek Orthodox Metropolis of Boston
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mobile: 617.799.6110

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Saturday, June 20, 2015 4:26:27 AM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: This Sunday, June 21

Follow up:

Fr. Emmanuel,
[ hope you are well.

Are you available to serve this coming Sunday, June 21 in Keene, NH.

Please confirm.
thank you
tjb

Greek Orthodox Metropolis of Boston
, a 162 Goddard Avanue
Chancellor

Brookline, MA 02445-7414

Reverend Theodore J. Barbas

tel G17.277.4742
fax: 617.739.9229

fatherted@boston.goarch.org mobile: 617.799.6110

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The Month of July.msg - @eweel:18-cv-11926-PBS Document 111-9 Filed 03/30/20 Page 34 0f43 3/21/20, 3:48 pm

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Friday, July 3, 2015 3:31:35 AM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: The Month of July

Follow up:

Fr. Emmanuel,
| hope you are well.

Are you available to serve for the entire month of JULY in Keene, NH.....July 5, 12, 19, and 267

Piease confirm.
thank you
tib

Greek Orthedox Metropolis of Boston
Chancellor 162 Goddard Ayanue
Brookline, MA 02445-7414

Reverend Theodore J, Barbas

tel: G17 .277.4742
fax: 617.739.9229
mobile: 617.799.6110

fatherted@boston.goarch.org

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Tuesday, July 14, 2015 5:40:29 AM

To: Gregory Lemelson <elemelson@outlook.com>

Subject: This Sunday, July 19

Follow up:

Hi Fr. Emmanuel

I pray you are well.

Are you all set to serve in Keene again this coming Sunday, July 19?
Please confirm

Thank you

Tjb

Sent from my iPhone

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This Sunday_ July 26.msfS@S@rivel8-cv-11926-PBS Document 111-9 Filed 03/30/20 Page 36 of 43

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>

Senton: Thursday, July 23, 2015 8:18:24 PM

To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: This Sunday, July 26

Follow up:

Brother,
| pray you are well.

Will you be able to serve this Sunday, July 26, in Keene?
Please confirm.

thanks

tjb

3/21/20, 3:52 PM

110 of 117

Reverend Theodore 3, Barbas
Chancellor

fatherted@boston.goarch.org

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162 Goddard Avenue

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Re_ This Sunday. July 27,ms@S@ndpdiB-CV-11926-PBS Document 111-9 Filed 03/30/20 Page 37 of 43 3/21/20, 3:43 pm

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From: Fr. Ted Barbas <fatherted@boston.goarch.org>
Senton: Friday, July 25, 2014 12:41:17 AM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: Re: This Sunday, July 27

Follow up:

Thanks

Father Ted

Chancellor

Greek Orthodox Metropolis of Boston
162 Goddard Avenue

Brookline, Massachusetts 02445
617.277 4742

On 24 Iovd 2014, at 8:29 w.u., + Emmanuel Lemelson <elemelson@outlook.com> wrote:

Dear Father,

Your Blessing.

NP - Will be there again.

Warm Regards,

+ Rev. Fr. Emmanuel

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From: Father Theodore J. Barbas | mailto:fatherted @ boston .eoarch.ors |
Sent: Thursday, July 24, 2014 5:13 PM

To: + Emmanuel Lemelson

Subject: Fwd: This Sunday, July 27

Fr. Emmanuel,

| pray you are well.

Are you available to serve in Newburyport again this Sunday, July 27?

Please confirm.
thanks

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This Sunday. August 2.nég Q6Reokib8-CV-11926-PBS Document 111-9 Filed 03/30/20 Page 38 of 43 ——3y94/20 3:51 pm

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From: Father Theodore J. Barbas <fatherted@boston.goarch.org>
Senton: Thursday, July 30, 2015 7:06:02 PM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: This Sunday, August 2

Follow up:

brother,

hope you are well,

just confirming again....YES, you are able to serve this Sunday, 8/2, in Laconia?
please confirm.

thanks

tib

From: "+ Emmanuel Lemelson" <elemelson@outlook.com>

To: "Father Theodore J. Barbas" <fatherted @ boston.goarch.org>
Sent: Friday, July 24, 2015 1:01:43 PM

Subject: RE: This Sunday, July 26

Dear Father,

Your blessing.

Unfortunately not available this weekend. Will likely be absent 2-3 more weekends throughout rest of
summer, than things should normalize.

Am available on August 2".

Warm Regards,

+ Rev. Fr. Emmanuel

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From: Father Theodore J. Barbas [mailto:fatherted @ boston.goarch.org]

Sent: Thursday, July 23, 2015 4:18 PM

To: + Emmanuel Lemelson <elemelson @ outlook.com>

Subject: This Sunday, July 26

Brother,

| pray you are well.

Will you be able to serve this Sunday, July 26, in Keene?

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From: Fr. Ted Barbas <fatherted@pboston.goarch.org>
Senton: Friday, August 14, 2015 6:07:03 PM
To: + Emmanuel Lemelson <el(@lemelsoncapital.com>

Subject: Re: Saturday and Sunday, August 15 and 16

Follow up:

thank you
tjb

On Fri, Aug 14, 2015 at 7:10 AM, + Emmanuel Lemelson <el@lemelsoncapital.com> wrote:

Dear Father,

Your blessing.

Yes, will be at Keene both days.
Warm Regards,

+ Rev. Fr. Emmanuel

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3/21/20, 3:39 PM

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From: Fr. Ted Barbas [mailto:fatherted @ boston.goarch.org]
Sent: Friday, August 14, 2015 7:09 AM

To: Gregory Lemelson <elemelson @outlook.com>
Subject: Saturday and Sunday, August 15 and 16

Goodmorning brother
I pray you are well.

Are you available to serve in Keene both tomorrow, Saturday, August [5 and Sunday, August 16?

Please confirm.
Thanks

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Re_ This Sunday_ August Gang 1 Baehyht1926-PBS Document 111-9 Filed 03/30/20 Page 41 of 43

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From: Fr. Ted Barbas <fatherted@boston.goarch.org>
Senton: Friday, August 21, 2015 8:45:28 PM

To: + Emmanuel Lemelson <elemelson@outlook.com>
Subject: Re: This Sunday, August 23

Follow up:

thank you brother

please let me know ASAP as to next Sunday.
thanks

tjb

On Fri, Aug 21, 2015 at 4:40 PM, + Emmanuel Lemelson <elemelson@outlook com> wrote:

Yes Father... with His Eminences blessing will be at Keene this Sunday...
(however, possibility may be traveling next Sunday)

Warm Regards,

+ Rev. Fr. Emmanuel

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3/21/20, 3:41 PM

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From: Fr. ted Barbas [mailto:fatherted @ boston.goarch.org]
Sent: Friday, August 21, 2015 10:00 AM

To: + Emmanuel Lemelson <el@lemelsoncapital.com>
Subject: This Sunday, August 23

Hi brother,

I pray you are well.

Are you confirmed to serve again this Sunday, August 23, in Keene, NH?

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https://lemelsoncapital-my.sharepoint.com/personal/el_lemelsonca...5Fcom%2FDocuments%2FTimeline%2FMetropalis%200f%20Boston%20Emails Page 1 of 1
Re_ This Sunday_ August @ens@-PreBtesy-11926-PBS Document 111-9 Filed 03/30/20 Page 42 of 43 3/21/20, 3:42 PM

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From: Fr. Ted Barbas <fatherted@boston.goarch.org>
Senton: Friday, August 28, 2015 5:19:26 AM
To: + Emmanuel Lemelson <elemelson@outlook.com>

Subject: Ke: This Sunday, August 23

Follow up:

brother,

Please confirm ASAP if you will serve this coming Sunday, August 30, in Keene.
thanks
tjb

On Fri, Aug 21, 2015 at 4:40 PM, + Emmanuel Lemelson <elemelson@outlook com> wrote:

Yes Father... with His Eminences blessing will be at Keene this Sunday...
(however, possibility may be traveling next Sunday)

Warm Regards,

+ Rev. Fr. Emmanuel

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_ error, please notify the sender and purge this message immediately without making any copy.

From: Fr. Ted Barbas [mailto :fatherted @ boston.goarch.org]
Sent: Friday, August 21, 2015 10:00 AM

To: + Emmanuel Lemelson <el@lemelsoncapital.com>
Subject: This Sunday, August 23

Hi brother,
I pray you are well.

Are you confirmed to serve again this Sunday, August 23, in Keene, NH?

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